Case 3:21-cv-01066-TKW-ZCB Document 87-11 Filed 10/03/22 Page 1 of 22




                              State of Florida

                                       vs.

                                United States



                                Deposition of:

      C/R: US Department of Homeland Security (Tony Barker)



                                 July 13, 2022
                                       Vol 1




              PHIPPS REPORTING
                                               Raising the /Jar!
Case 3:21-cv-01066-TKW-ZCB Document 87-11 Filed 10/03/22 Page 2 of 22



  C/R: US Department of Homeland Security (Tony Barker)
  July 13, 2022

                                                                         Page 47
     1     who 1s an unaccompanied child and who is not.
     2           Q.     Okay.     What constitutes a family unit?
     3           A.     So, a family unit is a child who -- or,
     4     you know, a child who is, you know, with their,
     5     their parent or legal guardian when they are
     6     encountered by us.
     7           Q.     Would you say that everyone who crosses
     8     the border fits into one of these categories, either
     9     single adult, family unit or unaccompanied minor/
    10     single minor?
    11           A.     Yes.
    12           Q.     Okay.     So --
    13           A.     And I 1 ll -- yeah, I mean, by and large.
    14     They 1 re not all illegal migrants.            We do have United
    15     States citizens and others as well, but,
    16     nevertheless, yes, those categories.
    17            Q.    Okay.     I just want to walk through some
    18     hypotheticals with you.          So, let's just say that
    19     border patrol encounters a single adult that's 100
    20     feet past the Southwest Border on U.S. soil.                 Can
    21     you walk me through the steps that the border patrol
    22     agent would take at that point?
    23            A.    Yes, sure.        So, the agent will encounter
    24     that individual, determine if that -- determine,
    25     basically, who the individual is, you know, ensure

                               www.phippsreporting.com
                                    (888) 811-3408
Case 3:21-cv-01066-TKW-ZCB Document 87-11 Filed 10/03/22 Page 3 of 22



 C/R: US Department of Homeland Security (Tony Barker)
 July 13, 2022

                                                                        Page 96
     1           Q.    Okay.     So, let's go back to Exhibit 7 and
     2    I just want to walk through each of these pathway
     3    dispositions with you.
     4                 The first one is Notice to Appear/Own
     5    Recognizance, NTA/OR.          So, when would that be
     6    applied to a single adult?
     7           A.    Again, it just depends on the
     8    circumstances in front of them.                You know, an
     9    individual who, you know, is claiming fear, an
    10    individual who, you know, may have, we 1 ll say, you
    11    know, issues to where they cannot be detained.
    12    Fraihat (phonetic) being -- just as an example, just
    13    one example.        You know, if we have no available
    14    space in order to be able to remove single adults
    15    to, you know, in ICE custody; i.e., you know, that
    16    locale has no available space open to them, we would
    17    end up placing a single adult into an NTA/OR.                 You
    18    know, those are all -- there 1 s just a variety of
    19    circumstances where, where it can be applied.
    20           Q.    Let me backtrack a little bit.             Do border
    21    patrol agents have discretion in deciding which one
    22    of these pathways to use?
    23           A.    Yes.
    24           Q.    Okay.
    25           A.    We have the discretion 1n order to be able

                            www.phippsreporting.com
                                 (888) 811-3408
Case 3:21-cv-01066-TKW-ZCB Document 87-11 Filed 10/03/22 Page 4 of 22



 C/R: US Department of Homeland Security (Tony Barker)
 July 13, 2022

                                                                        Page 97
     1    to determine which pathway, but, but, you know,
     2    again, there's -- this kind of goes back to your
     3    previous question.         Supervision is well engaged in
     4    the processing areas in monitoring, you know, who
     5    agents are processing, which pathways are assigned
     6    to individuals and so on.
     7           Q.    Are there specific criteria that an
     8    officer would apply in determining which pathway to
     9    choose?
    10           A.    It's based upon the circumstances of the
    11    individual in front of them.
    12           Q.    What do you mean by that?
    13           A.    So, so, you know, as in -- I think it's
    14     Exhibit 6, you had what appeared to be kind of
    15    almost like a decision tree for lack of better
    16    terms.      I think it was that number, so don't quote
    17    me on it, but -- well, I guess you're going to quote
    18     me on it, but, you know, the -- that's, that's like
    19     a decision tree, but ultimately the determination is
    20     based upon the circumstances in front of the agent
    21     at the time of the individual there.
    22           Q.     So, there are no set criteria that's
    23     applied?
    24           A.     Well, I mean, of course, yes, there's set
    25     criteria.     I mean, if a person has, you know,

                            www.phippsreporting.com
                                 (888) 811-3408
Case 3:21-cv-01066-TKW-ZCB Document 87-11 Filed 10/03/22 Page 5 of 22



 C/R: US Departrnenc of Homeland Security (Tony Barker}
 July 13, 2022

                                                                            Page 98
     1    previously been deported, so that's going to be for
     2    instance, a reinstatement of a previous removal; if
     3    they have an order of removal that has not been
     4    effectuated, that's going to be a bag and baggage.
     5    I mean, so you kind of see -- that -- again, I go
     6    back to it's kind of like a decision tree.               It's not
     7    a true decision tree.          So, there are circumstances
     8    that are involved in what you're applying that Title
     9    8 pathway to to those individuals.
    10           Q.     Okay.    Are there any other criteria?              You
    11    just named two.
    12           A.     Yeah, I mean, there 1 s going to be several.
    13    Right?      So, national security, border security
    14    threat, what's their criminal history, what 1 s their
    15    immigration history, are they applicable to -- you
    16    know, to MPP, are they applicable to detention, are
    17    they claiming fear, are they not claiming fear, you
    18    know, are they a single adult, are they a family
    19    unit, what's the detention availability for that
    20    person?      I mean, it 1 s -- you know, does ICE have bed
    21    space, do they not have bed space to detain?                  I
    22    mean, these are all a variety of different
    23    circumstances that are all taken into those
    24    decisions.
    25           Q.     Okay.    Does -- you mentioned whether or


                             www.phippsreporting.com
                                  (888) 811-3408
Case 3:21-cv-01066-TKW-ZCB Document 87-11 Filed 10/03/22 Page 6 of 22
Case 3:21-cv-01066-TKW-ZCB Document 87-11 Filed 10/03/22 Page 7 of 22
Case 3:21-cv-01066-TKW-ZCB Document 87-11 Filed 10/03/22 Page 8 of 22
Case 3:21-cv-01066-TKW-ZCB Document 87-11 Filed 10/03/22 Page 9 of 22
Case 3:21-cv-01066-TKW-ZCB Document 87-11 Filed 10/03/22 Page 10 of 22
Case 3:21-cv-01066-TKW-ZCB Document 87-11 Filed 10/03/22 Page 11 of 22
Case 3:21-cv-01066-TKW-ZCB Document 87-11 Filed 10/03/22 Page 12 of 22
Case 3:21-cv-01066-TKW-ZCB Document 87-11 Filed 10/03/22 Page 13 of 22
Case 3:21-cv-01066-TKW-ZCB Document 87-11 Filed 10/03/22 Page 14 of 22
Case 3:21-cv-01066-TKW-ZCB Document 87-11 Filed 10/03/22 Page 15 of 22
Case 3:21-cv-01066-TKW-ZCB Document 87-11 Filed 10/03/22 Page 16 of 22
Case 3:21-cv-01066-TKW-ZCB Document 87-11 Filed 10/03/22 Page 17 of 22
Case 3:21-cv-01066-TKW-ZCB Document 87-11 Filed 10/03/22 Page 18 of 22
Case 3:21-cv-01066-TKW-ZCB Document 87-11 Filed 10/03/22 Page 19 of 22
Case 3:21-cv-01066-TKW-ZCB Document 87-11 Filed 10/03/22 Page 20 of 22
Case 3:21-cv-01066-TKW-ZCB Document 87-11 Filed 10/03/22 Page 21 of 22
Case 3:21-cv-01066-TKW-ZCB Document 87-11 Filed 10/03/22 Page 22 of 22
